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UN|TED STATES DlSTRlCT COURT

wEs'rERN nls'rRlcT oF TENNEssEE “'i‘i’i': dile 3 § Pl'l 31
voss NAlLlNG
(PLAlN'rlFl=)
vs. clvlL Ac'rloN No. _

SAN DlEGO PROPERTY lNVESTORS, INC.

(DEFENDANT)

JURY DEMANDED

 

COMPLA|NT

 

l. COMES NOW, Plaintiff and brings this action against his former employer for
employment discrimination based upon his race, (African American), age (55) and for
retaliation after engaging in protected activity all in violation of Title VII of the Civil
Rights Act of 1964, as amended, 42 U.S.C. {2000e-l6 and 29 C.F.R. {{1614.101 (a)
and (b) and The Age Discrimination in Employment Act of 1967 (29 U.S.C. § 621 to 29
U.S,C. § 634). Jurisdiction is specifically conferred on the court by 42 U.S.C.} 2000e-5.
Equitable and other relief are also sought under 42 U.S. C. {2000e-5(g).

2. I;laintiff, is an African American male and a citizen of the United States and resides at 3586

Vivia Avenue Memphis, Tennessee 38122, Phone number is 901 270-2700.

3. Defendant, Meridian Property Management, LLC (“MPM”) is a subsidiary of Meridian

Pacit`lc Properties, Inc. a real estate investment company founded in 2006 that sells

premium, turnkey single family investment properties to investors nationwide

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Defendant was formed in 2012 to answer the need for a property management company
devoted specifically to the interests of Meridian Pacific Properties investors Met with
success, Defendant rapidly expanded across Memphis, lN. and DeSoto. MS. To date.
Defendant manages over 450+ single family properties for 170+ Meridian Pacific investors
and third-party clients Def`endant allows owners to enjoy the financial benefits of a well-
managed investment property Without being involved in the day-to-day maintenance and
upkeep.

4. Defendant’s corporate office Meridian Pacific Properties Inc’s headquarters is listed as 910
W. San Marcos Blvd., Suite 20; San Maros, California 92078

5. Plaintiff was employed by the defendant in its Mernphis location 2760 Colony Park,
Memphis, Tennessee 38109 with a phone number listed as 901 300~3266.

6. Defendant unlawfully discriminated against plaintiff in the manner indicated in paragraphs 9
and 10 of the compliant that resulted in Plaintiff being subjected to unjust, unmerited,
unwarranted and unlawful discriminatory employment and personnel decisions that created
adverse employment determination, namely termination

7. Plaintiff filed timely charges against the Defendant when he timely and properly filed With
the EEOC on March13, 2015 Exhibit # l. The EEOC issued Plaintiff a Right to Sue on

March 20, 2017. Exhibit # 2. Plaintiff was terminated on March 11, 2015.

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Equitable Tol]ing Invoked

 

The doctrine of equitable tolling allows courts to toll a statute of limitations when ‘a
litigant’s failure to meet a legally mandated deadline unavoidably arose from circumstances
beyond that litigant’s control. Roberston v. Simpson, 624 F,3d 781, 783 (6th Cir. 2010)
(quoting Graharn-Humphreys v. Memphis Brooks Museum of Art, lnc., 209 F.3d 552, 560-
61 (6th Cir. 2000)). In Tennessee, equitable tolling may excuse a late filing. Jones v.
Truck Drivers Local Union No. 299, 748 F.2d 1083 (6th Cir. 1984). The doctrine of
equitable tolling “is used sparingly by federal courts” and “[t]he party seeking equitable
tolling bears the burden of proving he is entitled to it.” Id. at 784. The Sixth Circuit has
adopted a test for analyzing equitable tolling claims. The factors to be considered are “‘(1)
lack of actual notice of filing requirement; (2) lack of constructive notice of filing
requirement; (3) diligence in pursuing one’s rights; (4) absence of prejudice to the
defendant; and (5) a plaintiff s reasonableness in remaining ignorant of the notice
requirement.”’ Keenan v. Bagley, 400 F.3d 417, 421 (6th Cir. 2005) (quoting Andrews v.
Orr, 851 F.2d 146, 151 (6th Cir. 1988)). “[T]hese factors ‘are not necessarily
comprehensive or always relevant; ultimately every court must consider an equitable tolling
claim on a case-by-case basis.”’ Id. (quoting King v. Bell, 378 F.3d 550, 553 (6th Cir.
2004)).

Plaintiff has facts that are sufficient to demonstrate that equitable tolling relief is
respectfully warranted, preventing the filing to be dismiss as an untimely claim pursuant to
Federal Rule of Civil Procedure 12(b)(6). The reasons are as follows.

Pro Se Plaintiff sought representation form Counsel to provide guidance in providing the

correct content to place in his EEOC Charge of Discrimination and interface With the

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Employer to seek dispute resolution and interface with the EEOC on his behalf , Although

Plaintiff was notified, agreed and understood that guidance and assistance would be

provided in the content of his Pro Se Lawsuit only, Plaintiff through no fought of his own

due to circumstances beyond his control.

al

b)

d)

s)

Plaintiff ‘s Right to Sue was addressed to an address different from the
address that was on his Charge of Discrimination

Plaintiff` s case was transferred to Little Rock’s EEOC

()n January 10, 2017 Plaintiff’ s through its EEOC representative requested
Status on Case to EEOC.

On March 29, 2017 Plaintiff’s through its EEOC representative requested
Status on Case to EEOC.

On March 30, 2017 Plaintiff’ s through its EEOC representative requested
investigative file.

On March 30, 2017 Plaintist through its EEOC representative for the first
time learned that File was closed on March 20, 2017. Plaintiff’s EEOC
representative did not receive the March 20, 2017 Right to Sue and the Right
to sue was not received by Plaintiff as it was sent to the wrong address.
However, in direct contradiction, on April l, 2017 Plaintiff notified its EEOC
representative that he was contacted by the EEOC Little Rock Office a week
prior and he was informed that a new investigator would be handling his case

from now on. The investigator was different from the original assigned

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lnvestigator that Plaintiff’s EEOC representative was seeking a status update
on several.

h) On April 26, 2017, Plaintiff received notification form EEOC requesting an
extension on the FOIA request that stated documents would be receive by
May 11, 2017.

i) On May 31, 2017 Plaintiff`s through its EEOC representative received EEOC
response to the March 30th request.

j) On June 7, 2017 Plaintiff`s through its EEOC representative received a copy
of the Right to Sue.

k) Plaintiff’s Right to Sue was mailed to Plaintiff at a different address

l) The Right to Sue was NOT addressed nor mailed to Plaintiff’ s EEOC
representative as the FOIA March 31, 2017 and April 26, 2017 EEOC
communication was.

m) Plaintiff was required to file his civil action With the Right to Sue notice.

Under Title Vll, once an individual files a charge alleging unlawful employment practices, the
EEOC must investigate the charge and determine whether there is “reasonable cause” to believe
that it is true. See 42 U.S.C. § 2000e-5(b) (1998). By filing a charge, an individual does not
file a complaint seeking relief, but merely informs the EEOC of possible discrimination See
EEOC v. Shell Oil Co., 466 U.S. 54, 68, 104 S.Ct. 1621, 80 L.Ed.2d 41 (1984). Ifthe EEOC
finds “reasonable cause” to believe an employer has violated Title VII but chooses not to bring
suit on behalf of the federal government, the EEOC will issue a “notice of right to sue” on the

charge to the aggrieved party. See 29 C.F.R. § 1601.28(b) (1998). An individual may not file

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suit under Title VII if he does not possess a “right to sue” letter from the EEOC. See Rivers v.

Barberton Bd. ofEduc., 143 F.3d 1029, 1032 (6th Cir.l998).

Therefore, for 180 days after the filing of a charge, the EEOC retains “exclusive” jurisdiction
over the subject matter of that charge. General Tel. Co. v. EEOC, 446 U.S. 318, 100 S.Ct.

1698, 64 L.Ed.2d 319 (1980).

Title VII of the Civil Rights Act of 1964 provides that if the EEOC investigates and dismisses a
charge of discrimination, then it “shall so notify the person aggrieved and within ninety days

after the giving of such notice a civil action may be brought against the respondent named in the
charge by the person claiming to be aggrieved . ” 42 U.S.C. § 2000e-5(f)(1). Under F ederal

Rule of Civil Procedure 6(d), three days are added to this ninety-day period. Further, “the Sixth
Circuit allots two days for postal delivery of an RTS notice beyond the three day period allowed
by Federal Rule of Civil Procedure 6(e).” Graham-Humphreys v. Memphis Brooks Museum of

Art, Inc., 209 F.3d 552, 558, n.9 (6th Cir. 2000).

Plaintiff asserts respectfully that any action to dismiss would not be proper or appropriate under
Rule 12(b)(6) where it is not apparent from the face of the complaint that the statute of

limitations has run.”

lt is well-established in the Sixth Circuit that actual receipt of an RTS notice is not required

before the ninety-day limitations period begins to run. Reed, 2012 WL 53 78379 at *3; see

also Hunter v. Stephenson Roofing, Inc., 790 F.2d 472, 474 (Cir. 1986) (“We are not inclined

toward an inflexible rule requiring actual receipt of notice by a claimant before the time

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period begins to run.”). Rather, there is a “rebuttable presumption that the plaintiff receives the

right to sue notification within five (5) days of the EEOC mailing the notice.”

Satisfying the ninety-day statute of limitations is not a jurisdictional prerequisite to filing a

complaint, but rather a requirement that is subject to waiver, estoppel, and equitable

tolling. Zipes v. Trans. World Airlines, Inc., 455 U.S. 385, 393 (1982); see also Sebelius v.
Auburn Reg’l Med. Ctr., 133 S. Ct. 817, 819 (2013) (quoting Zipes, 455 U.S. at 394) (reiterating
a statute establishing a filing deadline “does not speak in jurisdictional terms”) (internal
quotation marks omitted). A statute of limitations may be tolled based on equitable
considerations Snow v. Napolitano, No. 10-02530, 2013 U.S. Dist. LEXIS 97487, at *5 (W.D.
Tenn. July 11, 2013). The doctrine is available only in “cornpelling cases that justify a departure
from established procedures.” Warith v. Amalgamated Transit Union Local Chapter 268, No.
1:13 CV 985, 2013 WL 2443780, at *3 (N.D. Ohio June 4, 2013) (citing Puckett v. Tenn.
Eastman Co., 889 F.2d 1481 (6th Cir. 1989)). The doctrine of equitable tolling “allows courts to
toll a statute of limitations When a litigant’s failure to meet a legally-mandated deadline
unavoidany arose from circumstances beyond that litigant’s control.” Plummer v. Warren, 463
F. App’x 501, 504 (6th Cir. 2012) (quoting Robertson v. Simpson, 624 F.3d 781, 783 (6th Cir.

2010 (internal quotation marks omitted).

Factoring in the presumptive five-day mailing period, the ninety-day statute of limitations on
Plaintiff s Title VIl claim has not run yet. Plaintiff asserts that he did not actually receive his
RTS notice until May 31, 2017 outside the five-day mailing period due to the move of his

complaint from Memphis Office to EEOC office and the change of Federal lnvestigators that

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may not have shared his change of address Plaintiff could not file suit under Title VII where he

did not possess a “right to sue” letter from the EEOC.

Plaintiff argues the application of equitable tolling since he has NOT failed to act diligently

Plaintiff actually received his RTS notice on June 7, 2017. Plaintiff is indeed filing his
complaint before the limitations period expires and such action warrants the application of

equitable tolling if the Court deems he has not.

See Brown, 466 U.S. at 151. Plaintiff asserts an absence of prejudice to the defendant is

applicable
8. Because of plaintiffs (1) _ X _ _ Race, (2) color, (3) _ sex, (4) mreligion, (5)
_national origin (6) _ _ (7) _ _Disability; _ X _ Age; (8) _ X TRetaliation, Defendant:

(a)_____ failed to employ plaintiff

(b) _ X ___*terminated plaintiffs employment

(c)_ __failed to promote Plaintiff

(d)___ _subjected Plaintiff to unlawful disciplinary actions when
Defendant discriminated against Plaintiff based on race and reprisal (prior EEO

activity) when he did not get promoted and received disciplinary action.

(e) X subjected Plaintiff to unlawful discrimination Defendant
discriminated against Plaintiff based on his race, age and later discriminated against hirn.
9. The circumstances under which the defendant discriminated against plaintiff are as

follows: (all supportive documents referenced in paragraph 9 are all found in Collective

Exhibit 3

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a. Plaintiff was hired by the Defendant on May 13, 2014 as a General Maintenance
employee

b. When hired, Plaintiff was informed that he could not obtain health insurance until after
six months of employment

c. The Defendant’s African American employee (Christopher Ross) was also informed by
the Defendant upon hire that health insurance would not begin until six months of
employment

d. Plaintiff made several inquiries to the Defendant’s management regarding obtaining
health insurance to no avail.

e. In June 2014, the Defendant hired a Caucasian General Maintenance employee (Wayne
Moore) who received health insurance on the date of hire.

f. Plaintiff was forced to purchase health insurance independently in August 2014.

g. Plaintiff was subjected to age related comments by Defendant’s employees and
maintenance supervisor (Michal Snipes).

h. In October 2014, Plaintiff was called “grumpy old man” by Defendant’s maintenance
supervisor (Michal Snipes).

i. Plaintiff was ridiculed by the Defendant’s maintenance supervisor (Michal Snipes).

j. Plaintiff received derogatory remarks towards the appearance of Plaintiff`s completed
Work by the Defendant’s maintenance supervisor (Michal Snipes).

k. At an employee meeting, the Defendant’s management (Hope Reyes) publicly laughed at
Plaintiff’s suggestions to improve the quality of work and decrease the Defendant’s

liability

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The Defendant’s Caucasian General Maintenance employee (Wayne Moore) received

favoritism from the Defendant’s management

. The Defendant’s Caucasian General Maintenance employee (Wayne Moore) received

more drive mileage and work orders in comparison to Plaintiff.

. Plaintiff was often instructed to correct the errors made by the Defendant’s Caucasian

General Maintenance employee (Wayne Moore).

. Plaintiff received a ten day suspension from the Defendant

. Prior to Plaintiffs suspension, Plaintiff Was not warned verbally or in writing of

Plaintiff s work performance

. Plaintiff was received a written final warning from the Defendant on December 30, 2014.

Plaintiff had not received any verbal or written warnings prior to the final warning issued
to Plaintiff by the Defendant on December 30, 2014.
Plaintiff was discharged on May 7, 2015 for failing to perform his assigned job duties.

Plaintiff was unaware that Plaintiff’s job was in jeopardy prior to being terminated

. Plaintiff did not willfully of uncontrollany breach Plaintiff’s duties of employment
. Plaintiff completed job duties Within the allotted time frame

. The Defendant was not repeatedly forced to remove Plaintiff from the project and assign

another technician in Plaintiff’s place

. Plaintiff was not given opportunities to correct Plaintiff` s callbacks.

The Defendant’s Caucasian employee (Wayne Moore) was often allowed to fix ca11 backs
and remain at a site for several days.
The Defendant’s Caucasian employee (Wayne Moore) blatantly refused to complete a

work assignment and was not subsequently reprimanded by the Defendant

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aa. Plaintiff was denied unemployment benefits after Plaintiffs termination

10. The acts set forth in paragraphs 9 of this complaint

(a) _*_ _ are still being committed by defendant
(b)_ _ X _ are no longer being committed by defendant

(c)_ may still be being committed by defendant
11. Plaintiff attaches to this complaint a copy of the charges (formal Complaint) filed with the

WHEREFORE, Plaintiff prays that the following relief be granted following a jury in
his favor:

(a)_W Defendant be directed to employ plaintiff,

(b)_ _Defendant be directed to re-employ plaintiff,

(c)_ X __ Defendant be directed to promote plaintiff effective immediately.

(d) X _Defendant be directed to pay:
l.) Compensatory damages against Defendant in an amount to be determined by the jury
but not less than three hundred thousand dollars $300,000; 2) Any and all other pecuniary
losses proximately caused by Defendant’s unlawful conduct; 3.) Punitive damages
against Defendant in an amount of one (1) million dollars or a punitive amount to be
determined by the jury if the Jury finds the Defendant engaged in intentional, malicious
and reckless acts of discrimination without regard to Plaintiff professional character,
integrity and documented skill set 4.) All costs, disbursements, pre-judgment interest,

post-judgment interest expert witness fees and reasonable attorneys’ fees allowed under

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actions brought pursuant to 42 U.S.C. § 1981; 5) Such further relief as is deemed just and

proper and appropriate including injury/jet §

Plaintiff Signature

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